      Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 1 of 13




                   EXHIBIT C




ME1 9768624v.1
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 2 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 3 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 4 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 5 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 6 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 7 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 8 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 9 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 10 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 11 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 12 of 13
Case 7:20-cv-08089-KMK-JCM Document 1-3 Filed 09/30/20 Page 13 of 13
